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 8   FREEDOM OF THE PRESS FOUNDATION
 9
10                                UNITED STATES DISTRICT COURT
11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13   FREEDOM OF THE PRESS FOUNDATION,                   )     Civil Action No. 3:15-cv-05709 MEJ
                                                        )
14                                        Plaintiff,    )     STIPULATION OF DISMISSAL
                                                        )     PURSUANT TO FEDERAL RULE OF
15          v.                                          )     CIVIL PROCEDURE 41(a)(1)(A)(ii)
                                                        )
16                                                      )
     UNITED STATES DEPARTMENT OF                        )
17   JUSTICE,                                           )
                                                        )
18                                      Defendant.      )
                                                        )
19                                                      )

20   The parties in this action stipulate and agree as follows:
21          1.      On February 25, 2016, defendant Department of Justice responded to plaintiff
22
     Freedom of the Press Foundation’s July 25, 2014 and April 3, 2015 Freedom of Information Act
23
     (FOIA) requests that are the subject of this action. Defendant released responsive documents to
24
     plaintiff, withholding small portions pursuant to 5 U.S.C. § 552(b)(6).
25

26          2.      Based upon defendant’s assertion that all non-exempt responsive material located

27   after a reasonable and adequate search of defendant’s records has been released to plaintiff, the

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                                             STIPULATION OF DISMISSAL
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 1   parties hereby stipulate and agree pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) that
 2   the above-captioned action is voluntarily dismissed without prejudice.
 3
 4
 5   DATED: March 25, 2016                             Respectfully submitted,

 6
                                                       BENJAMIN C. MIZER
 7   /s/ Marcia Hofmann                                Principal Deputy Assistant Attorney General
     Marcia Hofmann
 8   Law Office of Marcia Hofmann                      MARCIA BERMAN
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 9   San Francisco, CA 94102
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10                                   /s/ Peter M. Bryce
     D. Victoria Baranetsky (pro hac vice)
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                                                       ATTORNEYS FOR DEFENDANT
16                                                     DEPARTMENT OF JUSTICE

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21
22                         GENERAL ORDER NO. 45(X) CERTIFICATION
23
          I attest that I have obtained Peter M. Bryce’s concurrence in the filing of this document.
24
                                                       /s/ Marcia Hofmann
25                                                     Marcia Hofmann
26
27
28

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                                             STIPULATION OF DISMISSAL
